Case 1:17-cv-05196-FB-SMG Document 8 Filed 12/14/17 Page 1 of 1 PageID #: 28




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
________________________________________                       Case No.

KAREN MAISONET on behalf of herself and                        1:17-cv-05196-FB-SMG
all other similarly situated consumers
                                                               NOTICE OF VOLUNTARY
                               Plaintiff,                      DISMISSAL WITH
                                                               PREJUDICE
               -against-

UNITED COLLECTION BUREAU, INC.

                        Defendant.
________________________________________

       IT IS HEREBY STIPULATED AND AGREED to by the Plaintiff and Plaintiff’s

attorneys, that the above-entitled action against Defendants shall be and hereby is dismissed with

prejudice and on the merits, without costs, or disbursements, or attorneys’ fees to any party and that

a judgment of dismissal with prejudice may be entered in the above-entitled action pursuant hereto.

Dated: Brooklyn, New York
       December 14, 2017
                                                       __/s/ Maxim Maximov_____________
                                                       Maxim Maximov, Esq.
                                                       Maxim Maximov, LLP
                                                       Attorney for the Plaintiff
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